                                                  Case 20-71913-jwc                   Doc 28   Filed 07/30/21 Entered 07/30/21 17:26:09                                       Desc
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                                                                                           Form 1
                                                                                                                                                                                                           Page: 1
                                                                       Individual Estate Property Record and Report
                                                                                        Asset Cases
Case No.:     20-71913-JWC                                                                                                                  Trustee Name:        (300320) S. Gregory Hays
Case Name:       SERHIR, BENYOUNES                                                                                                          Date Filed (f) or Converted (c): 11/19/2020 (f)
                                                                                                                                            § 341(a) Meeting Date:       12/18/2020
For Period Ending:       06/30/2021                                                                                                         Claims Bar Date: 04/06/2021

                                                      1                                             2                              3                            4                      5                          6

                                             Asset Description                                   Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)                     Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                  Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                     and Other Costs)                                                             Remaining Assets

    1       One-half interest - 706 Sweet Spice Way, Canton, GA 30114                                   110,250.00                          3,117.50                                               0.00               110,250.00
            See asset # 7 relating to security interest in property.

    2       One-half interest - 2016 Ford Fusion SE 14, 65,000 miles                                      3,000.00                               0.00           OA                                 0.00                        FA
            Notice of abandonment filed, Dkt # 17.

    3       2019 Nissan Maxima, 10,000 miles                                                             20,000.00                               0.00           OA                                 0.00                        FA
            Notice of abandonment filed, Dkt # 17.

    4       Household Goods                                                                               1,500.00                               0.00                                              0.00                        FA

    5       Clothing                                                                                         300.00                              0.00                                              0.00                        FA

    6       Checking: Bank of America NA                                                                     700.00                              0.00                                              0.00                        FA

    7       Adversary case 21-05003. Complaint against Plaza Home Mortgage, Inc.,                              0.00                              0.00                                              0.00                     0.00
            PennyMac Loan Services, LLC, U.S. Secretary of Housing and Urban
            Development (u)
            Complaint seeks to avoid Security Interests Transfers in real property.

    7       Assets                Totals        (Excluding unknown values)                          $135,750.00                            $3,117.50                                           $0.00              $110,250.00



        Major Activities Affecting Case Closing:
                                         1/5/21 NDR filed and withdrawn; Request for Claims Bar Date filed; Notice of Abandonment of 2016 Ford Fusion & 2019 Nissan Maxima

                                         1/8/21 - Trustee filed adversary case # 21-05003. Complaint against Plaza Home Mortgage, Inc., PennyMac Loan Services, LLC, U.S. Secretary of
                                         Housing and Urban Development relating to attestation issues with security deeds.

                                         6/30/21 - The Trustee and parties to adversary are in settlement discussions.

        Initial Projected Date Of Final Report (TFR):                        06/30/2022                                Current Projected Date Of Final Report (TFR):                       06/30/2022


             07/30/2021                                                                                                  /s/S. Gregory Hays

                  Date                                                                                                   S. Gregory Hays
